                       DECISION AND JUDGMENT ENTRY
This original action is before the court upon the petition of Samuel Patterson for a writ of habeas corpus. We hereby order the petition dismissed because Patterson did not comply with the requirement of R.C.2725.04(D) that he attach to his petition his pertinent commitment papers. Johnson v. Mitchell (1999), 85 Ohio St.3d 123 and Boyd v. Money
(1998), 82 Ohio St.3d 388, 389.
This original action is hereby ordered dismissed at petitioner's costs.
PETITION DISMISSED.
Peter M. Handwork, J., Melvin L. Resnick, J., and James R. Sherck, J., CONCUR.